It is not now to be decided whether the plea of the defendant, in case this suit had been brought by an American citizen, would be a good one; that has already been determined in the affirmative. The plaintiff rests his case on the ground that he is a British subject, had the act of Assembly which is pleaded by the defendant, for its object British creditors only, and were it one of those impediments contemplated by the fourth article of the treaty of peace, the question perhaps would assume a different aspect. But it is a general law, and not made for one person or set of men more than another, and I cannot see any reason why it ought to lose any of its force or operation, when pleaded against a British creditor sooner than if it had been pleaded against another person. Suits were brought by British creditors since the Revolution on open accounts, etc., to which the act of limitation (219) was pleaded, and this plea by our Courts was held to be a good one. If a plaintiff thinks proper to lie still and thereby suffer his claim to be barred, the neglect is his own and he must abide the consequences. I think the plea pleaded by the defendant in the present case should be sustained.
Judgment for the defendant. *Page 191 
(220)
NEW BERN DISTRICT, July Term, 1802.